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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY



                                                            Civil Action No. 20-536 (CCC)
    WAEL HANA,

                     Plaintiff,

           V.                                               60 DAY ORDER ADMINISTRATIVELY
                                                                TERMINATING ACTION
   UNITED STATES OF AMERICA,

                      Defendant.



        It having been reported to the Court that the above-captioned action has been settled,
        IT IS on this 20th       day of March   , 2020,
        ORDERED that this action and any pending motions are hereby administratively
 terminated; and it is further
        ORDERED that this shall not constitute a dismissal Order under Federal Rule of Civil
 Procedure 41; and it is further
        ORDERED that within 60 days after entry of this Order (or such additional period
 authorized by the Court), the parties shall file all papers necessary to dismiss this action under
 Federal Rule of Civil Procedure 41 or, if settlement cannot be consummated, request that the
 action be reopened; and it is further
        ORDERED that, absent receipt from the parties of dismissal papers or a request to
 reopen the action within the 60-day period, the Court shall dismiss this action, without further
 notice, with prejudice and without costs.



                                                          ____s/Claire C. Cecchi      .
                                                           CLAIRE C. CECCHI, U.S.D.J.
